Case 2:04-cr-20450-.]DB Document 34 Filed 04/26/05 Page 1 of 2 Page|D 49

  

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wEsTEaN Di\/isioN ' ' “

 

` j'i\r E:l§;r ,'§"\
UN|TED STATES OF AMERICA, W.D. O:' !r~=, Ml;‘v»l*r.§-a
Plain'[iff,

VS.
CR. NO. 04-20450-B

ROSETTA PEF{K|NS BROWN,
LARFlY VEFtNELL BULLOCK,

Deiendants.

 

ORDER ON CONT|NUANCE AND SPECIFYING PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Nlondav. .M{_ZB. 2005. at 9:30 a.m., in Courtroom 1. 11th F|oor cf the
Federa| Bui|ding, l\/lernphis, T|\|.

The period from may 13, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(i\/) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

C}\
iT is so oaoEar-:o this LL day of Aprii, 2005.

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J DA lEL BREEN \
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This document entered on the docket sh
with ‘Ho§c 55 and/or 3.”-:(&)) i'l'-iCrP on

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This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20450 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

